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June 24, 2023

VIA E.C.F. AND ELECTRONIC MAIL

Hon. Paul A Engelmayer

United States District Court Judge
Thurgood Marshall

United States Courthouse

40 Foley Square

New York, NY 10007

Re: United States v. Ari Teman, 19 Cr. 696 (PAE) - Request for extension of time to
provide a recommendation regarding designation

 

Dear Judge Engelmayer:

On June 15, 2023, Your Honor ordered counsel to provide a recommendation regarding
Mr. Teman’s designation, by June 23, 2023. I write to request a 2-week extension of time
to provide the recommendation. Before providing an update to the Court, I would first
like an opportunity to discuss with Mr. Teman any issues with respect to a designation,
as well as all aspects of a possible motion pursuant to 28 U.S.C. §2255. Accordingly, I
request a 2-week extension of time to provide the Court with a recommendation
regarding Mr. Teman’s designation. Finally, I apologize for not filing this request on
June 23, 2023, in accordance with Your Honor’s Order.

Respectfully Submitted,
LEE aa

Karloff C. Commissiong, Esq.

Cc: A.U.S.A. Kedar Bhatia

GRANTED. The deadline to identify a designated BOP facility is extended until July 7, 2023. This
deadline will not be further extended. The Clerk of Court is requested to terminate the motion at

SO ORDERED. Pal f Laypbea/

PAUL A. ENGELMA YER
United States District Judge
